In this case appellee, the Motors Securities Company, Inc., recovered a judgment against appellants, who were the defendants, for $1,073.16, with interest on that amount and attorney's fees as prayed for by the appellee, and appellants in due time perfected their appeal to this court.
Appellants, as defendants below, sought to abate this suit on the same grounds that were urged by the defendants in cause No. 1812, S. G. Dyson et al. v. Motors Securities Co., Inc., 17 S.W.2d 141, this day decided by this court, in which a written opinion was filed but is not yet officially reported. It is agreed by counsel for both sides that the material evidence touching the plea in abatement in this ease is the same as the evidence touching the plea in abatement in the Dyson Case, and the judgment of the trial court, in overruling the plea in abatement in the instant case, is challenged on the same grounds as those advanced in the Dyson Case.
We overrule appellants' contentions in this case for the same reason that we overruled the contentions of appellants in the Dyson Case, and have ordered the judgment in this case affirmed.